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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

                                             CASE №: 3:21-cr-00022-MMH-MCR

 UNITED STATES OF AMERICA,

 v.

 MATTHEW RAYMOND HOOVER.
                                                      /
                     NOTICE OF ADOPTION OF ECF 291
         Defendant Matthew Raymond Hoover (“Defendant”) respectfully adopts

 Defendant Ervin’s Response to United States’ Motion to Continue Sentencing

 (ECF 291), with the following additions:

      1. Communication difficulties with Mr. Hoover mirror those that exist with

         Mr. Ervin, but the same concession (one to two weeks at most) reflects

         Mr. Hoover’s position.

      2. In addition to the materially worse conditions Mr. Hoover faces, like Mr.

         Ervin, Mr. Hoover would be much more able to see his young children for

         purposes of visitation once transferred to the Bureau of Prisons.

      3. Counsel for Hoover notes that the government would not be prejudiced

         by a denial of the motion to continue sentencing because the government

         has ample capable counsel that would be able to serve at sentencing.




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    4. Mr. Hoover, in addition to witnessing overdose situations like those Mr.

       Ervin saw, Mr. Hoover witnessed a man beaten so severely that blood

       covered the room.

    5. In light of Mr. Hoover’s distance from his young children, the well-being

       of which would be materially advanced by being able to visit their

       biological father, the severe conditions at Baker County Jail, requests a

       sentencing be conducted as expeditiously as can be prudently and

       thoroughly undertaken.

                           DATED: June 20, 2023
  ___________________________       /s/Matthew Larosiere______
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  Lead Counsel for Defendant        Counsel for Defendant


                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 20, 2023 I electronically filed the
 foregoing document with the Clerk of the Court using CM/ECF. I also certify
 that the foregoing document is being served this day on all counsel of record
 via transmission of Notices of Electronic Filing generated by CM/ECF.

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                                     Zachary Z. Zermay, Esq.




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